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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                      Case No. 07-20685-CR-UNGARO/O’SULLIVAN

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 YELEINY GUERRERO,

      Defendant.
 __________________________/

                                         ORDER

         THIS MATTER came before the Court on the defendant’s Motion to Exclude

 Videotaped Conversations (DE# 75, 1/3/08). Having reviewed the applicable filings and

 law, it is

         ORDERED AND ADJUDGED that the defendant’s Motion to Exclude Videotaped

 Conversations (DE# 75, 1/3/08) is DENIED. The subject videotapes are admissible

 pursuant to Fed. R. Evid. 801(d)(2)(E) as statements made in the course of and in

 furtherance of a conspiracy.

         The defendant seeks to exclude the videotapes of two meetings which took

 place on March 23, 2007 and March 27, 2007 between Ramon Oscar Soto and Victor

 Suasnavas. Mr. Susanavas was cooperating with the government at the time of the

 meetings.

         Statements made by a co-conspirator during the course and in furtherance of a

 conspiracy is admissible as nonhearsay. See Fed. R. Evid. 801(d)(2)(E); see also

 Bourjaily v. United States, 483 U.S. 171, 183 (1987) (noting that “co-conspirators’
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 statements, when made in the course and furtherance of the conspiracy, have a long

 tradition of being outside the compass of the general hearsay exclusion.”). A statement

 is admissible under Rule 801 if “[t]he government . . . prove[s] by a preponderance of

 the evidence: (1) that a conspiracy existed; (2) that the conspiracy included the

 declarant and the defendant against whom the statement is offered; and (3) that the

 statement was made during the course and in furtherance of the conspiracy.” U.S. v.

 Miles, 290 F.3d 1341, 1351 (11th Cir. 2002). “In determining the admissibility of

 coconspirator statements, the court may consider both the coconspirator’s hearsay

 statement and independent outside evidence.” United States v. Van Hemelryck, 945

 F.2d 1493, 1498 (11th Cir. 1991). “The Eleventh Circuit applies a liberal standard in

 determining whether a statement is made in furtherance of a conspiracy.” U.S. v.

 Byrom, 910 F.2d 725, 735 (11th Cir. 1990).

       The Court finds that the March 23, 2007 and March 27, 2007 videotapes are

 admissible under Fed. R. Evid. 801(d)(2)(E). The government has shown by a

 preponderance of the evidence that a conspiracy existed between the defendant and

 Mr. Soto to defraud Medicare and that the statements made during the March 23, 2007

 and March 27, 2007 meetings were made during the course of and if furtherance of that

 conspiracy. The defendant is the owner of a durable medical equipment company. After

 submitting numerous claims to Medicare, the defendant’s company was inspected by

 Medicare in November 2006 and January 2007. Following these inspections, the

 defendant received a letter from Medicare advising her that she was in violation of

 certain Medicare supplier standards and that to show compliance, she needed to

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 submit invoices from November 2006 through February 2007. Within days of the

 defendant receiving this letter, Ramon Oscar Soto met with Victor Suasnavas on March

 23, 2007 to negotiate the purchase of phony invoices. At a second meeting on March

 27, 2007, Mr. Suasnavas provided Mr. Soto with invoices dated October 2006 through

 March 2007 (covering the time period requested by Medicare) in exchange for money.

 The defendant sent these invoices to Medicare the same day they were purchased by

 Mr. Soto. The bank records for the defendant’s company show that no payments were

 made to Mr. Suasnavas’ company during the time period reflected by the invoices and

 that the cash withdrawals made during this period were insufficient to cover the

 amounts shown in the invoices. Thus, the government has shown that a conspiracy

 existed between the defendant and Mr. Soto and that Mr. Soto’s statements made at

 the two meetings with Mr. Suasnavas were made during the course and in furtherance

 of the conspiracy.

       The defendant argues that the admission of the videotaped meetings violates the

 Confrontation Clause. See Defendant’s Motion to Exclude Videotaped Conversations

 (DE# 75 at 2, 1/3/08). In Crawford v. Washington, 541 U.S. 36, 68 (2004), the Supreme

 Court held that Confrontation Clause bars the admission of testimonial hearsay in a

 criminal case unless the declarant is unavailable and the defendant has had a prior

 opportunity for cross-examination. Crawford in inapplicable to the instant case because

 the subject videotapes are not testimonial. In United States v. Underwood, 446 F.3d

 1340, 1346 (11th Cir. 2006), “the government produced CD’s with recorded

 conversations between [the defendant’s brother] and a confidential information.” The

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 Eleventh Circuit found that statements made on the CDs were admissible and did not

 violate the Confrontation Clause. Id. “[T]he challenged evidence consisted of recorded

 conversations between the confidential informant and [the defendant’s brother] in which

 arrangements were made for the confidential informant to purchase cocaine . . . [were]

 neither testimony at a preliminary hearing, nor testimony before a grand jury, nor

 testimony at a former trial, nor a statement made during a police interrogation [and]

 d[id] not fall within any of the formulations which Crawford suggested as potential

 candidates for ‘testimonial’ status.” Id. at 1347. Similarly, the videotapes in the instant

 case do not violate the Confrontation Clause because they are not testimonial.

        The defendant further argues that “the videotaped conversations in questions

 are in the grey area of co-conspirator statements due to the fact that Suasnavas was a

 government agent at the time the statements were made.” See Defendant’s Motion to

 Exclude Videotaped Conversations (DE# 75 at 4, 1/3/08). The fact that Mr. Suasnavas

 was cooperating with the government does not alter the Court’s conclusion. See

 Bourjaily v. United States, 483 U.S. 171, 183 (1987) (holding that a co-conspirator’s

 statements to an FBI information were properly admitted against the defendant).

 Moreover, Mr. Suasnavas did not initiate the meetings with Mr. Soto. Mr. Soto met with

 Suasnavas to obtain the phony invoices in response to a letter the defendant received

 from Medicare.

        In light of the abundant evidence of a conspiracy between the defendant and Mr.

 Soto to defraud Medicare and the liberal standard for admission of evidence in



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 furtherance of a conspiracy, the Court finds that the videotapes of the meetings

 between Ramon Oscar Soto and a cooperating witness are admissible.

       DONE AND ORDERED, in Chambers, at Miami, Florida this 29th day of

 January, 2008.

                                         JOHN J. O’SULLIVAN
                                         UNITED STATES MAGISTRATE JUDGE

 Copies provided to:
 United States District Judge Ungaro
 All counsel of record




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